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 12
 13                       UNITED STATES DISTRICT COURT
 14                      CENTRAL DISTRICT OF CALIFORNIA
 15
      ALS SCAN, INC., a Maryland                     Case No.: 2:16-cv-05051-GW-AFM
 16   corporation,                                   PLAINTIFF’S REPLY
 17                                                  MEMORANDUM OF POINTS AND
                  Plaintiff,                         AUTHORITIES IN SUPPORT OF
 18                                                  MOTION FOR PARTIAL
                                                     SUMMARY JUDGMENT AGAINST
 19      vs.                                         DEFENDANT STEADFAST
                                                     NETWORKS, LLC
 20
      CLOUDFLARE, INC., a Delaware                   Filed Concurrently: Reply
 21   corporation, et al.,                           Declaration of Eric Penn
 22                                                  Date: January 4, 2018
                   Defendants.
 23                                                  Time: 8:30 a.m.
 24                                                  Place: Courtroom 9D
                                                            350 W. 1st Street
 25                                                         Los Angeles, CA
 26
 27
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  1                                SUMMARY OF REPLY
  2         As Plaintiff ALS Scan, Inc. (“ALS”) predicted, Defendant Steadfast
  3   Networks LLC (“Steadfast”) opposed ALS’s summary judgment motion with a
  4   novel and meritless theory. According to Steadfast, it can own, operate and
  5   maintain servers on which its clients’ website, imagebam.com, resides, and
  6   enjoy full immunity from contributory copyright liability despite receipt of over
  7   one thousand notifications of infringement on imagebam.com, with no burden
  8   to terminate services to that site, merely because imagebam.com is itself an ISP
  9   with its own notice and takedown procedure. Steadfast’s concoction is entirely
 10   without support in the Copyright Act or case law.
 11         In enacting Section 512 of the Copyright Act, Congress intended to strike
 12   a balance between service providers and copyright owners. In exchange for
 13   safe harbors from liability, service providers were incentivized by potential loss
 14   of those safe harbors to cooperate with copyright owners, including by
 15   informing account holders of, and enforcing, a policy of termination of services
 16   for repeat infringement.
 17         Steadfast’s rogue theory eviscerates that balance, leaving service
 18   providers with tacit immunities and copyright owners without recourse to
 19   responsible parties in US courts. ALS has shown without controversy that it
 20   suffers from an endless infringement ecosystem, in which entire galleries of its
 21   content are incessantly posted without authority on pirate free host sites such as
 22   imagebam.com, ostensibly content-neutral yet with no apparent significant
 23   purpose other than hosting stolen adult content. The locations of the stolen
 24   galleries are published on adult fan sites to entice surfers drawn to the allure of
 25   free infringing content. Imagebam.com monetizes the Internet traffic through
 26   advertisements. If ALS or other copyright owners send infringement notices to
 27   Steadfast and imagebam.com, the stolen gallery comes down one day and
 28   another appears the next. Under Steadfast’s theory, ALS must send endless

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  1   infringement notifications to Steadfast and imagebam.com with no claim
  2   against Steadfast when it refuses to terminate services, leaving ALS recourse
  3   only against anonymous uploaders, impecunious and largely foreign surfers
  4   who imagebam.com “tracks” only through IP addresses.
  5         This is not the law.
  6         The facts are not disputed. The only dispute is the legal conclusion to
  7   draw from these facts. Steadfast is wrong. The Court should grant ALS’s
  8   motion. Steadfast should be adjudged liable for contributory copyright and
  9   trademark infringement. Trial would remain to assess damages.
 10                                 UNDISPUTED FACTS
 11         Steadfast raised picayune quarrels with some of ALS’s undisputed facts,
 12   none giving rise to triable issues of fact. The material undisputed facts warrant
 13   summary judgment in favor of ALS.
 14         The following facts are without dispute.
 15         ALS owns a library of proprietary adult content. The content is protected
 16   by copyright and trademark. 1
 17         ALS has observed an endless loop of systematic infringement: 1) within
 18   hours after ALS posts a new content gallery on its secure webpages a stolen
 19   copy of the entire gallery is displayed for free on a pirate site; 2) adult “fan”
 20   forums (e.g. vipergirls.to) provide surfers with links to the free stolen ALS
 21   galleries; 3) infringing content on the pirate sites is juxtaposed with
 22   advertisements placed by ad brokers who pay for clicks or joins; 4) ALS sends
 23
 24
 25   1
        Steadfast conjured an example of an ALS image supposedly not bearing the
      trademark. Steadfast took an image from a free tour page on alsscan.com which
 26
      appears under the ALS Scan mark on the page. The images on the tour pages
 27   have a different aspect ratio than the images on the members’ page, thus the
 28   example picked by Steadfast was cropped above the mark. The same image
      from the members’ area shows the mark in the lower right. Penn Reply Decl.
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  1   notice(s) of infringing content on the pirate site and, sometimes, the infringing
  2   content is taken down; but 5) that gallery or another stolen ALS gallery appears
  3   on another page of the same pirate site shortly thereafter; and 6) the cycle
  4   continues endlessly.
  5         Imagebam.com is a pirate site with which ALS has had chronic
  6   infringement issues. While imagebam.com apparently claims to be a content
  7   neutral share site for third-party uploaded content, thus claiming the privileges
  8   of the DMCA, even a short time looking at imagebam.com reveals key
  9   attributes of “pirate” sites, ones primarily dedicated to storing galleries of
 10   infringing adult content – “red flags” of infringement. Imagebam.com, like
 11   other pirate sites: 1) offers alternative high volume upload capacities not
 12   typically offered on “mainstream” content-share sites; 2) fails to offer
 13   limitations such that only friends or invitees may view content, but rather
 14   uploads all content to unsecure publicly viewable pages; 3) monetizes uploaded
 15   content through advertisements over, under and proximate to uploaded content,
 16   ads that do not direct traffic to the copyright owner; 4) provides code or
 17   hyperlinks that can be quickly used to publish the location of the
 18   imagebam.com page on adult “fan” forums, sites offering links to free stolen
 19   adult content galleries; 5) requires no verifiable personal information to upload
 20   content and has weak ability to track and terminate users; and 6) fail to display
 21   information indicating compliance with 18 USC § 2257, requiring record
 22   keeping of the age of models appearing in adult content.
 23         Steadfast “owned” servers that were leased on a “dedicated” basis to
 24   Flixya, the owner/operator of imagebam.com. 2 Flixya leased three dedicated
 25
 26   2
        Steadfast attempts to spin the Zimmerman testimony as Steadfast’s
 27   representative with a correcting and even contradictory declaration from Kevin
 28   Stange. These undisputed facts are drawn directly from Mr. Zimmeman’s
      testimony. Zimmerman 30(b)(6) Depo. 15:12-18
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  1   servers from Steadfast. 3 Steadfast maintained and supported the servers’
  2   physical hardware.4 The servers were located in Steadfast’s data center. 5
  3   Steadfast configured the servers to Flixya’s needs. 6 Steadfast could “pull” the
  4   server on which imagebam.com resided, in other words, “shut it down.” 7
  5           ALS has hired an agent, Steve Easton to observe infringing ALS images
  6   on the Internet and send notifications of infringement to those directly or
  7   secondarily responsible for the infringement (“DMCA notices”). Steve Easton
  8   regularly observed infringing ALS images – often entire galleries – on
  9   imagebam.com. He prepared email notifications of infringement, including the
 10   language required by Section 512(c) and a hyperlink to each infringing image
 11   on imagebam.com. He sent the notifications to those directly or secondarily
 12   responsible for infringement.
 13           Mr. Easton regularly observed infringing galleries of ALS content on
 14   imagebam.com. Mr. Easton sent sent 853 notices of infringement to
 15   imagebam.com and Steadfast concerning infringing images belonging to his
 16   clients – ALS and other adult content owners – on imagebam.com. Of those,
 17   185 complained of infringing ALS images. The notifications were sent to the
 18   email addresses designated by imagebam.com and Steadfast to receive
 19   notification of infringement.
 20           In total, just in the last three years, Steadfast received 1517 notifications
 21   of infringement on imagebam.com.
 22           Steadfast has not adopted and informed account holders of a policy of
 23   termination of accounts for repeat infringement. Steadfast has no links on its
 24
 25
 26
      3
          Zimmerman 30(b)(6) Depo. 21:14-19
      4
          Zimmerman 30(b)(6) Depo. 16:1-4
 27   5
          Zimmerman 30(b)(6) Depo. 18:1-3
 28
      6
          Zimmerman 30(b)(6) Depo. 31:2-22
      7
          Zimmerman 30(b)(6) Depo. 53:15-23
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  1   homepage or anywhere else on its site using the terms “DMCA,” “Abuse” or
  2   “Infringement.” Steadfast’s home page has a small link at the bottom titled
  3   “Legal Info and Privacy Policy,” which when clicked resolves to Steadfast’s
  4   “Acceptable Use Policy (AUP)/Terms of Service.” Prior to receipt of service in
  5   this case, that page said only “[a]ny illegal activity may result in your site being
  6   suspended immediately, without notification. . . . Steadfast will be the sole
  7   arbiter as to what constitutes a violation of this provision.” After being sued,
  8   Steadfast made a modest but inadequate improvement in the terms. Now the
  9   page says: “Steadfast responds to notices of alleged copyright infringement and
 10   terminates accounts of repeat infringers according to the process set out in the
 11   U.S. Digital Millennium Copyright Act.” In discovery Steadfast said “Steadfast
 12   has not defined the term ‘repeat infringer’ as even the DMCA is silent as to any
 13   definition.”
 14         In response to receipt of over 800 notices of infringement from Steve
 15   Easton, Steadfast did absolutely nothing. 8
 16
 17   8
        In response to a 30(b)(6) deposition notice, Steadfast produced Karl
 18   Zimmerman as the sole designee. The notice asked Steadfast to produce one or
      more witnesses to address for the company what Steadfast had done in response
 19
      to the infringement notices, including Steadfast’s efforts to terminate repeat
 20   infringers. Zimmerman Depo. pp. 10-11, Ex. 1. Mr. Zimmerman testified on
 21   behalf of Steadfast that the company made no effort to follow up on the
      infringement notices because imagebam.com had shown on a prior occasion
 22   that it had a notice and takedown procedure. Mr. Zimmerman also testified for
 23   Steadfast that the company felt it had no burden to act until Mr. Easton notified
      Steadfast that material had not been removed in response to the notice.
 24           In response to ALS’s motion, Steadfast provided the declaration of Kevin
 25   Stange, who corrected and even contradicted Mr. Zimmerman by saying that
 26   Steadfast responded to Mr. Easton’s notifications through a ticketing system.
      The Court should ignore this declaration. Mr. Zimmerman was testifying for
 27   the company, not merely to his own recollection. A party may not testify one
 28   way in a corporate deposition and later adduce contradictory testimony from an
      employee. Rainey v. American Forest & Paper Ass’n, Inc., 26 F.Supp.2d 82,
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  1         Steadfast had information that imagebam.com was receiving high volume
  2   uploads, and could have obtained further information about imagebam.com’s
  3   operations simply by looking at the site. A look at imagebam.com would have
  4   revealed that imagebam.com was accepting high volume uploads of adult
  5   content and other “red flags” of infringement.
  6         Steadfast maintained its own theory that if its own client was an Internet
  7   service provider, Steadfast had no burden to terminate services to its client, or
  8   indeed take any action, in response to notifications of infringement.
  9          Steadfast did not terminate Flixya’s account. Steadfast did not “pull the
 10   plug” on the servers on which imagebam.com resided. Steadfast has never
 11   terminated an account for repeat infringement.
 12                                     ARGUMENT
 13 I.      STEADFAST IS LIABLE FOR CONTRIBUTORY COPYRIGHT
 14         INFRINGEMENT.
 15         The parties agree that Steadfast was notified 185 times that infringing
 16   ALS content resided on imagebam.com. A single notification provided the
 17   location of numerous infringing ALS images, often entire galleries. Steadfast
 18   owned, stored, configured and maintained the servers on which imagebam.com
 19   and the infringing content resided. Yet, Steadfast never terminated services to
 20   Flixya or “pulled the plug” on the servers on which imagebam.com resided.
 21         Steadfast’s continued ownership, storage and maintenance of servers on
 22   which infringing ALS content appeared, in the face of repeated notifications of
 23   infringement, renders Steadfast a contributory infringer. This case is squarely
 24   within the ambit of Fonovisa v. Cherry Auction, Inc., 76 F.3d 259 (9th Cir.
 25
 26
      95 (D. D.C. 1998) [corporate party bound by 30(b)(6) testimony and could not
 27   use conflicting affidavits in summary judgment motion]; Reilly v. NatWest
 28   Markets Group, Inc., 181 F.3d 253, 268 (2d Cir. 1999) (more knowledgeable
      witness prevented from testifying at trial).
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   1   1996) and Louis Vuitton Malletier, S.A. v. Akonic Solutions, Inc., 658 F.3d 936,
   2   943 (9th Cir. 2011). Steadfast provided the Internet equivalent of real estate –
   3   the “site and facilities” – on which chronic infringement occurred.
   4         Steadfast’s distinction of these cases is specious.
   5         Steadfast is not an absentee landlord. Steadfast owned, configured,
   6   maintained and stored the servers on which imagebam.com resided. Steadfast
   7   is like the owner of the flea market in Cherry Auction. The flea market operator
   8   received repeat notifications – many fewer than Steadfast received here – that
   9   vendors in its flea market were selling bootleg merchandise. However the
 10    operator failed to eject the offending vendor(s) from the flea market, thus
 11    rendering it liable for contributory infringement.
 12          Would the results of Cherry Auction have changed if the vendors were
 13    selling bootleg merchandise on consignment from third parties rather than
 14    procuring it directly? Would the flea market operator have evaded contributory
 15    liability by complaining it had no ability to prevent third parties from providing
 16    stolen merchandise to its vendors on consignment? No. Whether the vendors
 17    procured stolen merchandise themselves or from third parties, in either case the
 18    flea market operator had to cease providing its site and facilities to the vendor
 19    in question or become a contributory infringer.
 20          Concerning Louis Vuitton, Steadfast is not in the position of MSG. MSG
 21    leased servers to Akanoc, its only customer. Steadfast is like Akanoc. It was
 22    Akanoc that operated the servers and had customer relationships with website
 23    owners. The infringing Louis Vuitton merchandise appeared on sites that
 24    resided on servers Akanoc operated. Akanoc was liable for contributory
 25    infringement because it continued to store such sites after notice of
 26    infringement (eighteen). Here, like Akanoc, Steadfast contracted with Flixya to
 27    store imagebam.com on servers operated by Steadfast. Infringing ALS content
 28    appeared on sites owned, stored and maintained by Steadfast. That Steadfast

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   1   owned the servers on which the infringing ALS content resided means that
   2   Steadfast was in a stronger position than Akanoc to contribute to infringement.
   3         Steadfast is contributorily liable because it continued to provide storage
   4   and maintenance services to imagebam.com, a site on which infringing ALS
   5   content chronically resided. Whether imagebam.com directly procured the
   6   infringing ALS content or received infringing content from third party
   7   uploaders is beside the point. Either way Steadfast maintained the site and
   8   facilities for infringement.
   9         Steadfast wrongly insists that imagebam.com’s uploaders are the direct
 10    infringers and that contributory infringement exists only where the service
 11    provider can, and does not, withdraw services from the direct infringer. Not so.
 12    The law is that a service provider must stop providing services to whomever it
 13    is providing such services as long as such services materially contribute to
 14    infringement.
 15           Steadfast cites Louis Vuitton, 658 F.3d at 942, but this page pertains to
 16    MSG, which did not operate servers on which infringing content resided.
 17    Rather, like Steadfast, it was Akanoc that leased server space to website
 18    operators. The direct infringers were in China. Akanoc provided testimony
 19    that some of its customers were “resellers,” in other words, companies that
 20    leased server space from Akanoc and then resold that space to direct infringers.
 21    However, the Ninth Circuit held that the presence of an intervening reseller
 22    between Akanoc and the Chinese direct infringers “would not alter our
 23    analysis.” 658 F.3d at 940 n.4. Whether the direct infringer was Akanoc’s
 24    client or the client of a reseller was immaterial. Akanoc was a contributory
 25    infringer for continuing to provide storage services to websites on which
 26    infringement occurred. 658 F.3d at 940-41.
 27          Similarly, in Ellison v. Robertson, 357 F.3d 1072 (9th Cir. 2004), AOL
 28    was removed from the direct infringer, Robertson. The nature of USENETs

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   1   was that an upload from one person caused the material to propagate to multiple
   2   USENETs. “After Robertson made the infringing copies of Ellison's works
   3   accessible to the news-group, the works were forwarded and copied throughout
   4   the USENET to servers all over the world, including those belonging to AOL.
   5   As a result, AOL's subscribers had access to the news-group containing the
   6   infringing copies of Ellison's works.” 357 F.3d at 1075. Even though AOL had
   7   no direct relationship with Robertson, it could nevertheless have been
   8   contributorily liable “by storing infringing copies of [the infringing] works on
   9   its [network] and providing [] users with access to those copies.” 357 F.3d at
 10    1078. See also Religious Tech Ctr. v. Netcom Online Communications Servs.,
 11    Inc., 907 F.Supp. 1361, 1375 (N.D. Cal. 1995) (Netcom potentially
 12    contributorily liable for storing USENET on which infringing content
 13    appeared).
 14          Other courts have made clear that a contributory infringer need not have
 15    an account with the direct infringer, so long as continuing to provide services
 16    after knowledge of infringement materially contributes to infringement.
 17    “Google could be held contributorily liable if it had knowledge that infringing
 18    Perfect 10 images were available using its search engine, could take simple
 19    measures to prevent further damage to Perfect 10's copyrighted works, and
 20    failed to take such steps.” Perfect 10 v. Amazon.com, Inc., 508 F.3d 1146, 1172
 21    (9th Cir. 2007); Perfect 10 v. Visa Intern. Service Ass’n, 494 F.3d 788, 796 (9th
 22    Cir. 2007) (contributory liability exists where a service provider aids in the
 23    “reproduction, . . . display and distribution of [plaintiff’s] images over the
 24    Internet”).
 25          Steadfast deflects scrutiny of its own behavior, the only issue raised by
 26    ALS’s motion, with irrelevant and distracting critiques of ALS’s behavior. The
 27    cited testimony confirms that, if indeed ALS members were downloading and
 28    then uploading ALS content to pirate site, this would violate ALS’s terms of

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   1   service. Ambrogi Decl. Ex. B p. 99. No ALS representative testified that they
   2   knew the identity of any of its members that may have violated ALS’s terms.
   3   Ambrogi Decl. Exs. A, B. ALS has not employed digitial rights management
   4   (“DRM”) technology, but no ALS witness testified, and Steadfast did not show,
   5   that any existing DRM would have revealed the identity of a person uploading
   6   ALS content in violation of ALS’s terms. In any event, this is all a distraction.
   7   Steadfast cites no authority that ALS’s rights under the Copyright Act were
   8   conditioned on use of technologies that Steadfast thinks ALS should have
   9   employed. Steadfast cites no authority that ALS’s rights under copyright fade
 10    or disappear under theories of contributory negligence or mitigation of damage
 11    for failure to use DRM technologies. These arguments are red herrings.
 12    II.   STEADFAST DOES NOT QUALIFY FOR SAFE HARBOR
 13          DEFENSES.
 14          Steadfast is not entitled to a safe harbor against liability under 17 U.S.C.
 15    § 512(c).
 16          Steadfast’s argument that Steve Easton sent his infringement notifications
 17    to the wrong party, or to Steadfast in error, is wrong. Easton didn’t send his
 18    notifications to Steadfast as a substitute for notifying imagebam.com, or
 19    expecting Steadfast to forward his notice to imagebam.com. Easton sent his
 20    notifications to both Steadfast and imagebam.com.
 21          Steadfast repeatedly says that Easton’s notifications weren’t compliant,
 22    but they never say how or why. The DMCA does not require notifications to be
 23    strictly complaint, but rather substantially compliant. ALS Scan, Inc. v. Remarq
 24    Communities, 239 F.3d 619, 624 (4th Cir. 2001). Here, Mr. Easton’s
 25    notifications substantially complied with all elements of Section 512(c)(3).
 26    Easton provided a hyperlink for each and every work infringed, which
 27    simultaeneously identified the work infringed as well as the location from
 28    which the infringing work could be removed. Steadfast does not say why this is

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   1   not at least substantially compliant. Easton’s notification also provide the other
   2   elements (contact information, affirmation that the sender was authorized, etc.).
   3          Steadfast does not show how it “acted” or “responded” to Easton’s
   4   notifications. Steadfast admitted in its 30(b)(6) testimony that it did nothing.
   5   Steadfast’s current effort to create controversy by having an employee give
   6   contradictory testimony that Steadfast really did do something in response to
   7   infringement notices should be rejected.
   8          Steadfast did not “act” or “respond” upon receipt of notifications that
   9   were perfectly compliant, or at least substantially compliant, with Section 512.
 10    Steadfast is not entitled to that safe harbor.
 11    III.   STEADFAST HAS LOST ANY SAFE HARBOR PROTECTIONS TO
 12           WHICH IT MAY HAVE BEEN ENTITLED UNDER 17 U.S.C. § 512(i).
 13           As an alternative, Steadfast has, without controversy, lost safe harbors for
 14    failure to comply with Section 512(i).
 15           Steadfast’s argument that it “adopted” a repeat infringer policy is wrong.
 16    Steadfast only addresses its current policy, adopted after it realized it had been
 17    sued in this case for copyright infringement. The current policy vaguely says
 18    that Steadfast may terminate services to repeat infringers as provided in the
 19    DMCA, but in discovery Steadfast said the DMCA does not define repeat
 20    infringement. This is lip service, a cover story for Steadfast’s actual policy, to
 21    terminate no accounts for repeat infringement and rationalize its conduct only
 22    after being haled into court.
 23           Steadfast did not address its “policy” before it was served with process in
 24    this case. Prior to being sued, during a time period covering most of the
 25    infringement notices from Easton, Steadfast published no policy saying that it
 26    would or could terminate accounts for repeat infringement.
 27           Steadfast’s argument that it reasonably implemented whatever repeat
 28    infringer policy it claims is adopted is meritless. Steadfast has terminated no

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   1   accounts for repeat infringement. Steadfast says it is not obliged to “seek out”
   2   infringers, but this is not the issue. Steadfast received 1517 notices of
   3   infringement on imagebam.com yet did not terminate that account for repeat
   4   infringement. Steadfast simply assumed, without actually verifying, that Flixya
   5   complied with infringement notices by taking down the infringing content.
   6   Even if this is the case, which Steadfast did not verify, at some point, much
   7   earlier than 1517 notices, the sheer number of infringement notices on
   8   imagebam.com put Steadfast to the choice of terminating imagebam.com’s
   9   account or losing safe harbors. Louis Vuitton, supra (host contributorily liable
 10    for failing to act after eighteen notices); BMG Rights Mgmt. v. Cox, 149
 11    F.Supp.3d 634 (E.D. Va. 2015) [Cox lost safe harbors under Section 512(i) for
 12    failing to act after fourteen notices].
 13          Steadfast failed to distinguish or address ALS’s authorities that Congress
 14    intended to strike a balance between copyright owners and ISPs, motivating
 15    ISPs to terminate services to infringers for fear of losing safe harbors. Perfect
 16    10 v. Cybernet Ventures, 213 F.Supp.2d 1146, 1178 (C.D. Cal. 2002) (“[O]nline
 17    service providers are meant to have strong incentives to work with copyright
 18    holders. The possible loss of the safe harbor provides that incentive and
 19    furthers a regulatory scheme in which courts are meant to play a secondary role
 20    to self-regulation”). Steadfast’s rogue theory eviscerates that balance, leaving
 21    service providers with tacit immunities and copyright owners without recourse
 22    to responsible parties in US courts.
 23    IV.   STEADFAST IS CONTRIBUTORILY LIABLE FOR INFRINGEMENT
 24          OF ALS’S TRADEMARKS.
 25          Steadfast did not address ALS’s motion for summary judgment for
 26    contributory trademark infringement. Under Louis Vuitton, supra, continuing
 27    to provide storage services to websites on which trademarks are infringed is a
 28

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   1   contribution to trademark infringement. Steadfast is, without controversy,
   2   contributorily liable for infringement of ALS’s trademarks.
   3                                   CONCLUSION
   4         ALS’s motion for partial summary judgment should be granted. The
   5   Court should determine that Steadfast contributed to infringement of ALS’s
   6   copyrights and trademarks and that it has no safe harbor. The trial would thus
   7   be devoted to an award of damages.
   8
   9   DATED: December 21, 2017               SPILLANE LAW GROUP PLC
                                              GHALLAGHER & KENNEDY P.A.
 10
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                                              By: _____________________________
 13                                                       Jay M. Spillane
                                              Attorneys for Plaintiff ALS Scan, Inc.
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
PLAINTIFF’S REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN
SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT AGAINST
DEFENDANT STEADFAST NETWORKS, LLC will be served or was served (a) on the judge in
chambers in the form and manner required by Local Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) December 21, 2017, I checked the CM/ECF docket for this action and determined that the following persons are on
the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) December 21, 2017, I served the following persons and/or entities at the last known addresses in this case by
placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) December 21, 2017, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 12/21/2017                  Jessie Gietl

 Date                     Printed Name                                         Signature
